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             8

             9                                UNITED STATES DISTRICT COURT

           10                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

           11                                        OAKLAND DIVISION

           12    BRUCE HORTI, SANDRA GEORGE, and                 Case No. 4:21-cv-09812-PJH
                 JEANETTE CRAIG,
           13                                                    DEFENDANT NESTLÉ HEALTHCARE
                                       Plaintiffs,               NUTRITION, INC.’S NOTICE OF
           14                                                    PENDENCY OF OTHER ACTION OR
                           v.                                    PROCEEDING
           15
                 NESTLÉ HEALTHCARE NUTRITION, INC.,
           16
                                       Defendant.
           17
                                                                 Later-filed action pending in D.N.J.,
           18                                                    No. 3:22-cv-02855, Owen v. Nestlé
                                                                 Healthcare Nutrition, Inc.
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Crutcher LLP

                                DEFENDANT’S NOTICE OF PENDENCY OF OTHER ACTION OR PROCEEDING
                           Case 4:21-cv-09812-PJH Document 28 Filed 07/12/22 Page 2 of 3


             1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

             2             PLEASE TAKE NOTICE that, pursuant to Civil Local Rule 3-13, Defendant Nestlé Healthcare

             3   Nutrition, Inc. (“Nestlé”) gives notice that a later-filed action, Owen v. Nestlé Healthcare Nutrition,

             4   Inc., Case No. 3:22-cv-02855, was filed on May 16, 2022 in the United States District Court for the

             5   District of New Jersey. The matter in this Court was filed December 20, 2021 and is the first-filed

             6   action.

             7             These cases involve nearly identical allegations regarding Nestlé’s labeling and marketing of

             8   its BOOST Glucose Control, BOOST Glucose Control High Protein, and BOOST Glucose Control

             9   MAX 30g Protein nutritional drinks. Much like plaintiffs’ complaint in the above-captioned matter,

           10    the plaintiff in Owen claims that the BOOST labels would lead a reasonable consumer to believe that

           11    the drinks “prevent, treat, and mitigate the effects of diabetes.” See Case No. 3:22-cv-02855, Dkt. 1.

           12    Both cases are also pleaded as putative class actions.

           13              Nestlé’s deadline to respond to the Owen complaint has yet to pass, and Nestlé intends to file

           14    with the court presiding over the later-filed Owen case a motion to transfer that case from the District

           15    of New Jersey to this Court, under the first-filed rule. These cases involve the same issues, overlapping

           16    classes, and should both be before this Court to avoid any potential for conflicting rulings, conserve

           17    resources, and promote an efficient determination of both actions. The case before this Court is also

           18    significantly further along than the Owen case, as Nestlé has not yet filed a response to the Owen

           19    complaint. In the case before this Court, Nestlé’s motion to dismiss has been heard and granted with

           20    leave to amend in part, with an amendment deadline of August 2, 2022. Dkt. 27.

           21

           22    Dated: July 12, 2022                           GIBSON, DUNN & CRUTCHER LLP
           23                                                   By: /s/ Timothy Loose
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           24                                                   PERLETTE MICHÈLE JURA, SBN 242332
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             1
                                               Counsel for Defendant Nestlé Healthcare
             2                                 Nutrition, Inc.
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                      DEFENDANT’S NOTICE OF PENDENCY OF OTHER ACTION OR PROCEEDING
